                 Case 16-26113-SMG                Doc 193        Filed 08/28/18          Page 1 of 5




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

In re:                                                                     Case No.: 16-26113-RBR
                                                                           Chapter 7
ENDLESS JEWELRY NORTH AND
SOUTH AMERICA, LLC,

      Debtor.
_____________________________________/

         TRUSTEE’S MOTION FOR AUTHORITY TO PAY IRS PRIORITY CLAIM

         Marc P. Barmat (the “Trustee”), Chapter 7 trustee for the bankruptcy estate of Endless

Jewelry North and South America, LLC, pursuant to § 105(a) of the Bankruptcy Code1, by and

through undersigned counsel, moves this Court for authority to pay the priority claim of the

Internal Revenue Service (“IRS”), and states as follows:

         1.       On August 23, 2017, the IRS timely filed Proof of Claim 30-32 in the total amount

of $24,997.43.

         2.       $19,812.84 of the $24,997.43 is Federal Insurance Contributions Act (“FICA”)

taxes entitled to priority status under § 507(a)(8)3 of the Bankruptcy Code (the “IRS Priority

Claim”).




1
  11 U.S.C. §§ 101, et seq.
2
  Amending Proof of Claim 30-2, filed on July 11, 2017, which amended Proof of Claim 30-1 filed on March 13,
2017.
3
  “The following expenses and claims have priority in the following order - Eighth, allowed unsecured claims of
governmental units, only to the extent that such claims are for … (C) a tax required to be collected or withheld and
for which the debtor is liable in whatever capacity; (D) an employment tax on a wage, salary, or commission of a kind
specified in paragraph (4) of this subsection earned from the debtor before the date of the filing of the petition, whether
or not actually paid before such date, for which a return is last due, under applicable law or under any extension, after
three years before the date of the filing of the petition. 11 U.S.C. § 507(a)(8)(C) and (D).

                                                            1
                   Case 16-26113-SMG              Doc 193        Filed 08/28/18        Page 2 of 5




           3.       The Trustee is seeking authority to pay the IRS Priority Claim from the current

funds on hand4 in the bankruptcy estate to resolve, in part, the objection of Howard Clarke5, filed

at ECF No. 187 (the “Clarke Objection”), to the Motion to Compromise Controversy with Former

Directors, Officers, Managers, Control Person and Employees of the Debtor, in addition to Motion

for Payment of Earned 40% Contingency Fee to Trustee’s Special Litigation Counsel and General

Counsel [ECF No. 191] (the “Motion to Compromise”).

           4.       The Clarke Objection was filed before the Trustee filed the Motion to Compromise

and since filing the Clarke Objection, Mr. Clarke has reversed course and executed the Settlement

Agreement attached to the Motion to Compromise. See Exhibit A to Motion to Compromise.

However, the Trustee still believes it is prudent, equitable, and non-prejudicial to all other

interested parties to pay the priority portion of the IRS Claim.

           5.       Section 105(a) gives this Court the authority to “issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of this title,” 11 U.S.C. §

105(a), “codif[ying] the established law that a bankruptcy court ‘applies the principles and rules

of equity jurisprudence.” In re Seaside Engineering & Surveying, Inc. 780 F.3d 1070,1078 (11th

Cir. 2015).

           6.       The Trustee requests that the Court grant him authority to pay the IRS Priority

Claim in-full from the current funds on-hand in the estate. Payment of the IRS Priority Claim will

not negatively impact any other administrative, priority, or general unsecured claims.

           WHEREFORE, the Trustee, Marc P. Barmat, respectfully requests that this Honorable

Court enter an order, substantial in the form of the order attached as Exhibit “A”: (i) granting this

Motion; (ii) authorizing the Trustee to pay the IRS Priority Claim of $19,812.84 from the current


4
    The Trustee currently has $201,206.47 of funds on hand.
5
    Even though Mr. Clarke is not a creditor in this case and may not have standing.

                                                            2
              Case 16-26113-SMG           Doc 193     Filed 08/28/18      Page 3 of 5




funds on-hand in the estate; and (iii) granting such other and further relief as this Court deems just

and proper.

Respectfully submitted this 10th day of August 2018.

                                                       FURR COHEN
                                                       Attorneys for Trustee
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                                                       By: /s/ Jason S. Rigoli
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                                                  3
              Case 16-26113-SMG         Doc 193     Filed 08/28/18     Page 4 of 5




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
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In re:                                                      Case No.: 16-26113-RBR
                                                            Chapter 7
ENDLESS JEWELRY NORTH AND
SOUTH AMERICA, LLC,

      Debtor.
_____________________________________/

                      ORDER GRANTING TRUSTEE’S MOTION
                   FOR AUTHORITY TO PAY IRS PRIORITY CLAIM

         THIS MATTER came before the Court for a hearing on _____________, 2018 at ____

a.m., in Fort Lauderdale, Florida, upon the Trustee’s Motion for Authority to Pay IRS Priority

Claim [ECF No. __] (the “Motion”), filed by the Trustee, Marc P. Barmat. The Court has reviewed

the Motion and the record in this case, heard the arguments of counsel, and finds that the reasons

set forth in the Motion and articulated on the record the relief is warranted. Accordingly, it is

hereby

ORDERED and ADJUDGED that:

         1.    The Motion is GRANTED.


                                                                                          A
              Case 16-26113-SMG          Doc 193      Filed 08/28/18     Page 5 of 5




       2.      The Trustee is authorized to pay the IRS its priority claim of $19,812.84 from the

funds currently on hand in the Bankruptcy Estate upon this order becoming final and non-

appealable.

                                                ###

Submitted by:

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Attorney, Jason S. Rigoli, is directed to serve a conformed copy of this Order and file a certificate
of service with the Court.
